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____________________________________________________________________________
                                                      SO ORDERED,




                                                      Judge Jason D. Woodard
                                                      United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________

                            UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF MISSISSIPPI
IN RE:                                                                                 CHAPTER 13
TM GARRET SCHMID                                                                  CASE NO.: 23-12874
CARMEN BROWN SCHMID

                           ORDER CONFIRMING CHAPTER 13 PLAN

        The debtor(s) plan was filed on      October 2, 2023 , and amended/modified by subsequent
order(s) of the court, if any. The plan was transmitted to creditors pursuant to Bankruptcy Rule 3015.
The court finds that the plan meets the requirements of 11 U.S.C. § 1325.

IT IS ORDERED THAT:

1. The debtor(s) chapter 13 plan attached hereto is confirmed.

2. The following motions are granted (if any):

    a. Motion for valuation of security, payment of fully secured claims, and modification of
       undersecured claims made under Rule 3012 (§ 3.2 of the plan);
    b. Motion to avoid lien pursuant to Section 522 (§ 3.4 of the plan).

3. The stay under Section 362(a) is terminated as to the collateral only and the stay under Section 1301
   is terminated in all respects regarding collateral listed in Section 3.5 of the plan (if any).

4. All property shall remain property of the estate and shall vest in the debtor only upon entry of
   discharge. The debtor shall be responsible for the preservation and protection of all property of the
   estate not transferred to the trustee.

5. The debtor’s attorney is awarded a fee in the amount of $_4,000.00__, of which$ 2,383.15 is due
   and payable from the estate.

                                        ##END OF ORDER##
Approved:

/s/Robert H. Lomenick
Attorney for the Debtor
Robert H. Lomenick, MSB 104186
Jones & Schneller, PLLC
Post Office Box 417, Holly Springs, MS 38635
662-252-3224 ; robert@northmsbankruptcy.com
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Fill in this information to identify your case:
Debtor 1               TM Garret Schmid
                          Full Name (First, Middle, Last)
Debtor 2                  Carmen Brown Schmid
(Spouse, if filing)       Full Name (First, Middle, Last)
                                                             NORTHERN DISTRICT OF
United States Bankruptcy Court for the                           MISSISSIPPI                                       Check if this is an amended plan, and
                                                                                                                   list below the sections of the plan that
Case number:              23-12874                                                                                 have been changed.
(If known)                                                                                                         3.1



Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                     12/17


Part 1:       Notices

To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable. The treatment of ALL secured and priority
                        debts must be provided for in this plan.

                        In the following notice to creditors, you must check each box that applies

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                        to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case
                        (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                        is filed. See Bankruptcy Rule 3015.

                        The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.

                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                        plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                        provision will be ineffective if set out later in the plan.

1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in            Included                 Not Included
             a partial payment or no payment at all to the secured creditor
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                 Not Included
             set out in Section 3.4.
1.3          Nonstandard provisions, set out in Part 8.                                                       Included                 Not Included


Part 2:       Plan Payments and Length of Plan

2.1          Length of Plan.

The plan period shall be for a period of 60 months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
specified in this plan.

2.2          Debtor(s) will make payments to the trustee as follows:

                    $2,422.00 ( monthly,
Debtor shall pay $2,667.00                          semi-monthly,      weekly, or     bi-weekly) to the chapter 13 trustee. Unless otherwise ordered
by the court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                      Direct Pay




APPENDIX D                                                                Chapter 13 Plan                                                 Page 1
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Joint Debtor shall pay       ( monthly,       semi-monthly,       weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by the
court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:




2.3            Income tax returns/refunds.

               Check all that apply
                        Debtor(s) will retain any exempt income tax refunds received during the plan term.

                        Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                        return and will turn over to the trustee all non-exempt income tax refunds received during the plan term.

                        Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

Part 3:        Treatment of Secured Claims

3.1            Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.).

               Check all that apply.
                 None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

      3.1(a)
         Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11 U.S.C. §
         1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of
         claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed herein.
1     Mtg pmts to Bank Of Holly Springs
Beginning Feb. 2024                  @            $1,460.00
                                             $1,419.50               Plan         Direct.     Includes escrow   Yes     No

1         Mtg arrears to       Bank Of Holly Springs                        Through        Jan. 2024                               $18,479.11$10,219.80

3.1(b)       Non-Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11
             U.S.C. § 1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with
             the proof of claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed
             herein.
Property -NONE-
          address:
Mtg pmts to
Beginning month                            @                              Plan            Direct.          Includes escrow Yes No

Property -NONE- Mtg arrears to                                            Through

3.1(c)              Mortgage claims to be paid in full over the plan term: Absent an objection by a party in interest, the plan will be amended
                    consistent with the proof of claim filed by the mortgage creditor.

Creditor:         -NONE-                        Approx. amt. due:                               Int.
                                                                                                Rate*:
Property Address:
Principal Balance to be paid with interest at the rate above:
(as stated in Part 2 of the Mortgage Proof of Claim Attachment)
Portion of claim to be paid without interest: $
(Equal to Total Debt less Principal Balance)

Special claim for taxes/insurance: $                                -NONE- /month, beginning        month .

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   (as stated in Part 4 of the Mortgage Proof of Claim Attachment)

* Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District
  Insert additional claims as needed.

  3.2        Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one..

                       None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                       Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
                       amounts to be distributed to holders of secured claims, debtor(s) hereby move(s) the court to value the collateral described below
                       at the lesser of any value set forth below or any value set forth in the proof of claim. Any objection to valuation shall be filed on
                       or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case (Official Form 309I).

                       The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                       of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                       treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                       creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.


   Name of creditor Estimated amount of                       Collateral                 Value of collateral   Amount of secured claim Interest rate*
                    creditor's total claim #


   Bank Of                                          2 John Deere Garden
   Holly                                            Tractors, Frontier RC
   Springs                       $4,060.00
                           $4,463.08                Bushhog                                     $4,000.00                   $4,000.00           7.00%

   Name of creditor Estimated amount of                       Collateral                 Value of collateral   Amount of secured claim Interest rate*
                    creditor's total claim #


                                                    Nikon D3400 ($250),
                                                    Nikon Lens ($90),
                                                    Canon Lens 300mm
                                                    ($150), Back Magic
                                                    ATEM TV Switcher
                                                    ($499), Lighting
                                                    equipment - 5 stands
                                                    ($50), 5 microphones
                                                    ($150), Blue Yeti
                                                    Microphone ($50),
                                                    Trailer 6x12'
                                                    enclosed (Water
                                                    damaged $0.00),
                                                    Nikon D3100 ($150),
                                                    Olympus Lens ($200),
                                                    Black Magic Video
                                                    Assist Field Recorder
                                                    ($250), Samsung
                                                    Meteor Studio Mic
                                                    ($44), Behringer
                                                    Mixer ($85), Asus
                                                    Laptop ($150), Setup
                                                    Monitors ($150
                                                    total/$50each),
                                                    Desktop computer
   Fidelity                                         and monitor ($150), 2
   National                                         galaxy smart
   Loans                         $12,000.00         watches ($150)                              $2,418.00                   $2,418.00           7.00%



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Name of creditor Estimated amount of                       Collateral                  Value of collateral   Amount of secured claim Interest rate*
                 creditor's total claim #


                                                  Frontier RC20
                                                  RC2060 Rotary
                                                  Cutter, John Deere
                                                  Tractor, with
                                                  attachments,
                                                  accessories and
John Deere                                        components. C&W 7
Financial                    $27,952.00
                        $26,560.32                x 18' Trailer                             $25,000.00                 $25,000.00          7.00%

Insert additional claims as needed.

#For mobile homes and real estate identified in § 3.2: Special Claim for taxes/insurance:

      Name of creditor                                Collateral                        Amount per month                       Beginning
-NONE-                                                                                                              month

* Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District

For vehicles identified in § 3.2: The current mileage is


 3.3       Secured claims excluded from 11 U.S.C. § 506.

      Check one.
                    None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4        Motion to avoid lien pursuant to 11 U.S.C. § 522.

Check one.
                    None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                    The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                which the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or
                security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                order confirming the plan unless the creditor files an objection on or before the objection deadline announced in Part 9 of the
                Notice of Chapter 13 Bankruptcy Case (Official Form 309I). Debtor(s) hereby move(s) the court to find the amount of the
                judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount,
                if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11
                U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each
                lien.
                                                                                                                                   Lien identification
                                                                                                                                      (county, court,
                         Property subject to         Lien amount to be           Secured amount                                   judgment date, date
  Name of creditor                                                                                             Type of lien
                                  lien                     avoided                  remaining                                       of lien recording,
                                                                                                                                   county, court, book
                                                                                                                                   and page number)
First Heritage         Craftsman Mower                             $700.00                     $0.00 Agreement                   UCC #
Credit                 ($200), 55"                                                                                               20223941279A
                       Samsung Smart TV
                       ($300), 50" Smart
                       TV ($200)
Fundo, LLC             All property                             $2250.00                        $000 Agreement, UCC              UCC#:
                       exempt or                                                                                                 20234176858A
                       encumbered by
                       prior lien

Insert additional claims as needed.

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3.5         Surrender of collateral.

            Check one.
                    None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                    The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request
                    that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay
                    under § 1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be
                    treated in Part 5 below.

                 Name of Creditor                                                                      Collateral
Carmax Auto Finance                                                          2010 Mazda MX5 100000 miles
Carmax Auto Finance                                                          2013 Kia Sorrento 175000 miles


Insert additional claims as needed.



Part 4:     Treatment of Fees and Priority Claims

4.1         General
            Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
            without postpetition interest.

4.2         Trustee’s fees
            Trustee’s fees are governed by statute and may change during the course of the case.

4.3         Attorney's fees.

               No look fee:    $4000.00

                Total attorney fee charged:            $4,000.00

                Attorney fee previously paid:          $1,616.85

                Attorney fee to be paid in plan per
                confirmation order:                    $2,383.15

               Hourly fee: $       . (Subject to approval of Fee Application.)

4.4         Priority claims other than attorney’s fees and those treated in § 4.5.

            Check one.
                    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5         Domestic support obligations.

                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:    Treatment of Nonpriority Unsecured Claims
5.1         Nonpriority unsecured claims not separately classified.

            Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
            providing the largest payment will be effective. Check all that apply.
              The sum of $       $2,418.00
                   % of the total amount of these claims, an estimated payment of $




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             The funds remaining after disbursements have been made to all other creditors provided for in this plan.



             If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00
             Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2        Other separately classified nonpriority unsecured claims (special claimants). Check one.

                    None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


Part 6:    Executory Contracts and Unexpired Leases

6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
           contracts and unexpired leases are rejected. Check one.

                    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
                    Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified
                    below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column
                    includes only payments disbursed by the trustee rather than by the debtor(s).

  Name of creditor         Description of leased             Current installment         Amount of arrearage to be        Treatment of arrearage
                           property or executory                  payment                          paid
                                 contract
                        Contract for title
                        ($300/month) on a
B Auto Sales            1997 Ford F150                                      $300.00                           $0.00                                  n/a
                                                        Disbursed by:
                                                           Trustee
                                                           Debtor(s)

Insert additional contracts or leases as needed.

Part 7:    Vesting of Property of the Estate

 7.1       Property of the estate will vest in the debtor(s) upon entry of discharge.

Part 8:    Nonstandard Plan Provisions

8.1        Check "None" or List Nonstandard Plan Provisions
                  None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

           X        Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard
                    provision is a provision not otherwise included in the Official Form or deviating from it.
                    Nonstandard provisions set out elsewhere in this plan are ineffective.

                    The following plan provisions will be effective only if there is a check in the box “Included” in
                    § 1.3

                    1. Absent an objection, andy Proof of Claim filed by the Internal Revenue Service and/or
                       MDOR (priority/secured) shall be paid in full at any applicable statutory rate of interest.
                    2. Upon the filing of a Notice of Postpetition Mortgage Fees, Expenses, and Charges, and
                       absent any objection being filed within 30 days after the filing of said Notice, the Trustee is
                       authorized to pay the amount contained in the Notice as a special claim over the remaining
                       plan term and adjust the plan payment accordingly.
                    3. If applicable, all ad valorem taxes, past/present/future, if not paid by the mortgage company,

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                         shall be paid direct to the taxing authority by the Debtor and not paid through the chapter 13
                         plan

Part 9:    Signatures:

9.1      Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.
 X /s/ TM Garret Schmid                                                  X /s/ Carmen Brown Schmid
     TM Garret Schmid                                                          Carmen Brown Schmid
     Signature of Debtor 1                                                     Signature of Debtor 2

     Executed on      October 2, 2023                                          Executed on      October 2, 2023

     1552 S Mullins Rd                                                  1552 S Mullins Rd
     Address                                                            Address
     Holly Springs MS 38635-0000                                        Holly Springs MS 38635-0000
     City, State, and Zip Code                                          City, State, and Zip Code

     Telephone Number                                                   Telephone Number


X    /s/ Robert H. Lomenick                                             Date     October 2, 2023
     Robert H. Lomenick 104186
     Signature of Attorney for Debtor(s)
     126 North Spring Street
     Post Office Box 417
     Holly Springs, MS 38635
     Address, City, State, and Zip Code
     662-252-3224                                                       104186 MS
     Telephone Number                                                   MS Bar Number
     rlomenick@gmail.com
     Email Address




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